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                        United States Bankruptcy Court
                               District of Connecticut


In re:
         HO WAN KWOK, et al., 1                                                             Case Number: 22-50073
                                                                                            Chapter: 11
         Debtors                                                                           (Jointly Administered)

         Luc A. Despins, Chapter 11 Trustee,
         Plaintiff,
   v.                                                                                      Adversary Proceeding
         CyGlass Inc                                                                       No: 25-05008 (JAM)
         Defendant(s)

                                SUMMONS IN AN ADVERSARY PROCEEDING

To the Plaintiff:
In accordance with Fed. R. Bankr. P. 7004(e), on or before February 25, 2025, you must serve this Summons and a
copy of the Complaint filed on February 12, 2025, on all Defendants in accordance with Fed. R. Bankr. P. 7004(a) or (b),
except any Defendants to be served in a foreign country.
If service is made on any named Defendants in a foreign country, you must serve this Summons and a copy of the
Complaint filed on February 12, 2025, on all such named Defendants in accordance with Fed. R. Civ. P. 4(f), (h), and (j),
made applicable by Fed. R. Bankr. P. 7004(a)(1).
You must also complete the attached Certificate of Service of Process and file the completed Certificate with the
Bankruptcy Court electronically or at the address listed on the second page of this Summons.
To the Defendant(s):
YOU ARE SUMMONED and, if you are a Defendant properly served with this Summons and the Complaint in
accordance with the instruction above and applicable rules within a judicial district of the United States, pursuant to Fed.
R. Bankr. P. 7012(a), you are required to file, electronically or with the Clerk of the Bankruptcy Court at the address in
this Summons, a motion or answer to the Complaint on or before 60 days from the service of this Summons.
If you are a Defendant served with this Summons and the Complaint in a foreign country, you are required to file,
electronically or with the Clerk of the Bankruptcy Court at the address in this Summons, a motion or answer to the
Complaint within 60 days from proper service of the Summons and Complaint, unless the Court orders a different
deadline to file a motion or answer to the Complaint upon motion made pursuant to Fed. R. Bankr. P. 7012(a).




1 The Debtors in these chapter 11 cases are Ho Wan Kwok (also known as Guo Wengui, Miles Guo, and Miles Kwok, as well as
numerous other aliases) (last four digits of tax identification number: 9595), Genever Holdings LLC (last four digits of tax
identification number: 8202) and Genever Holdings Corporation. The mailing address for the Trustee, Genever Holdings LLC,
Genever Holdings Corporation is Paul Hastings LLP, 200 Park Avenue, New York, NY 10166 c/o Luc A. Despins, as Trustee for the
Estate of Ho Wan Kwok (solely for purposes of notices and communications).
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At the same time, you must also serve a copy of the motion or answer upon the Plaintiff's attorney:

                                                Douglas S. Skalka
                                        NEUBERT, PEPE & MONTEITH, P.C.
                                           195 Church Street, 13th Floor
                                          New Haven, Connecticut 06510
If you make a motion under Fed. R. Bankr. P. 7012, your time to answer is governed by Fed. R. Bankr. P. 7012.

IF YOU FAIL TO RESPOND TO THIS SUMMONS, A JUDGMENT BY DEFAULT MAY BE ENTERED
AGAINST YOU FOR THE RELIEF DEMANDED IN THE COMPLAINT.

Dated: February 18, 2025


                                                                                                      Pietro Cicolini
                                                                                                      Clerk of Court
United States Bankruptcy Court
District of Connecticut
915 Lafayette Boulevard
Bridgeport, CT 06604
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                                      CERTIFICATE OF SERVICE OF PROCESS
                                                                                          Adv. Pro. Number: 25-05008 (JAM)

I,                                                                    , certify that service of this Summons and a
               (name)
copy of the complaint was made on                             by (check one below):
                                                     (date)
              Mail service: Regular, First-Class United States mail, postage fully pre−paid, addressed to:



              Personal Service: By leaving the process with defendant or with an officer or agent of defendant at:



              Residence Service: By leaving the process with the following adult at:



              Certified Mail Service on an Insured Depository Institution: By sending the process by certified mail addressed
              to the following officer of the defendant at:



              Publication: The defendant was served as follows:



              State Law: The defendant was served pursuant to the laws of the State of _____________________________, as
              follows:



If service was made by personal service, by residence service, or pursuant to state law, I further certify that I am, and at
all times during the service of process was, not less than 18 years of age and not a party to the matter concerning which
service of process was made.

Under penalty of perjury, I declare that the foregoing is true and correct.

Date                              Signature


                                  Print Name


                                  Business Address


                                  City, State, Zip
